  Case 19-10055                 Doc 20      Filed 05/29/19 Entered 05/29/19 08:42:16      Desc Main
                                               Document Page 1 of 1
      FILED & JUDGMENT ENTERED
                Steven T. Salata




            May 29 2019


        Clerk, U.S. Bankruptcy Court
       Western District of North Carolina
                                                                           _____________________________
                                                                                   George R. Hodges
                                                                             United States Bankruptcy Judge




                            UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                   ASHEVILLE DIVISION

IN RE:                                    )
                                          )
      David Keith Bailey                  )                       Case No. 19-10055
      Debra Lynn Bailey,                  )                       Chapter 7
                                          )
      Debtors.                            )
__________________________________________)

                    ORDER APPROVING EX PARTE APPLICATION TO EMPLOY
                   ROBERTS & STEVENS, P.A., AS ATTORNEY FOR THE TRUSTEE

        UPON CONSIDERATION of the application of Barbara B. Stalzer, Trustee, for
authority to employ Roberts & Stevens, P.A., as attorney for the Trustee in connection with this
case; and it appearing that the Trustee provided appropriate notice of the application and no
further notice need be provided and that notice of a hearing on such application need not be
given; and the court having reviewed the application and declaration of Elizabeth T. Dechant in
support of said application; and the court being satisfied based on the representations made in the
application and declaration that (a) Roberts & Stevens, P.A., does not hold or represent an
interest adverse to the bankruptcy estate and (b) Roberts & Stevens, P.A., is a “disinterested
person” as defined in section 101(14) of the Bankruptcy Code, as required by section 327(a) of
the Bankruptcy Code; and the court having found that the relief requested in the application is
necessary and in the best interest of the estate;

       IT IS HEREBY ORDERED, that Roberts & Stevens, P.A. is authorized to serve as
attorney for the Trustee in this case to perform all of the services set forth in the application with
such compensation as approved by the Court.


This Order has been signed electronically. The                           United States Bankruptcy Court
Judge’s signature and court’s seal appear at the top
of the Order.


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